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           CONTINUATION IN SUPPORT OF APPLICATION
                          FOR ARREST WARRANT

      I, Joshua White, being duly sworn, depose and state as follows:

                                 Introduction

      1.     This continuation is submitted for the purpose of obtaining an arrest

warrant for FREDRICK EDMOND JR. for being a felon in possession of firearms,

in violation of 18 U.S.C. § 922(g)(1).

      2.     I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF), and I have served as such since July 2022. Prior to

serving as an ATF Special Agent, I was employed by the United States Secret

Service as a Uniformed Division Officer for three and a half years. My daily

responsibilities while serving were to screen passholders and appointments who had

access to the White House Grounds, assist with protectee movements onto and off

of the White House Complex, and enforce D.C. Code as well as Federal Law. I have

completed the Federal Law Enforcement Training Center (FLETC) Uniformed

Police Training program (UPTP) and the Criminal Investigator Training Program

(CITP) with a total combination of over 800 hours of classroom and practical

training. I have completed ATF’s Special Agent Basic Training (SABT) academy

with over 500 hours of classroom and practical training. I am presently assigned to

ATF’s Lansing Office conducting narcotics/firearms investigations.

      3.     This continuation contains only a summary of relevant facts, which

come from my personal observations, training, experience, and information obtained

from other witnesses. I have not included each and every fact known to me


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concerning the individuals and events described in this continuation. This

continuation is made for the purpose of establishing probable cause that FREDRICK

EDMOND, JR. committed the crime of felon in possession, in violation of Title 18,

United States Code, Section 922(g)(1).

                                  Probable Cause

      4.     Over the past three months, Lansing Police Department (LPD) and ATF

Lansing have been investigating EDMOND for being a suspect in multiple shootings

that occurred in the city of Lansing. Specifically, EDMOND was listed as a suspect

in a non-fatal shooting that occurred July 31, 2024 where the victim, a passenger in

a vehicle, was shot in the face but survived. A witness told LPD that the driver of the

vehicle was the target and that driver had been feuding with EDMOND. Surveillance

video in the area captured video of a white Chevrolet Blazer in the vicinity of the

shooting just prior to the shooting; the vehicle matches the vehicle from which

EDMOND was later arrested on this offense. The victim was shot with a .40 caliber

round and a .40 caliber Glock handgun was seized from EDMOND later (as outlined

below). LPD knew EDMOND to be a convicted felon and therefore prohibited from

possessing firearms.

      5.     On August 9, 2024, the Lansing Police Department obtained a search

warrant for (i) 4921 Delray Drive, Lansing Michigan, (ii) EDMOND’s person, and (iii)

any vehicle in which EDMOND was located. LPD and ATF surveilled EDMOND

leaving the Delray Drive residence driving the white Chevrolet Blazer, in which he

had been seen on multiple prior occasions. EDMOND stopped at a red light and LPD




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and Michigan State Police (MSP) approached and stopped EDMOND for a search

pursuant to the warrant. As EDMOND was being detained, in plain view, officers

observed an extended magazine and the back of a pistol grip protruding from under

the driver’s seat. Law enforcement located and seized the firearm, a loaded Glock

Model 23, .40 caliber semi-automatic pistol loaded with twenty-one rounds of .40

caliber ammunition underneath the driver’s seat where EDMOND was seated.

Pictured below is the recovered firearm taken from the traffic stop of EDMOND on

August 9. Edmond was arrested and lodged at the Lansing City Jail.




      6.     LPD, MSP, and ATF then executed the search warrant at 4921 Delray

Drive. During the search, law enforcement located a Glock Model 29 10mm pistol,

with an attached machinegun conversion device, commonly referred to as a “Glock

Switch,” and an extended magazine, loaded with thirty rounds of 10mm ammunition.

The firearm is pictured below. This firearm was located next to the bed, in a bedroom




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where officers also found an expired Michigan ID issued to EDMOND, clothing law

enforcement had seen EDMOND wearing on social media, and paperwork in

EDMOND’s name.




       7.     I spoke with ATF SA Hurt, who is an expert in interstate nexus for ATF.

He advised that the Glock pistols were manufactured outside the State of Michigan.

       8.     FREDRICK EDMOND was prohibited from possessing a firearm

because he had been convicted of the following felony offenses, both in November of

2021: (i) lying to a peace officer during a violent crime investigation and (ii) felony

identity theft.

                                     Conclusion

       9.     Based on the facts described above, I believe there is probable cause to

believe that FREDRICK EDMOND violated Title 18, United States Code, Section

922(g)(1), felon in possession of firearms.




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